                                  UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF TENNESSEE
                                       NASHVILLE DIVISION


 UNITED STATES OF AMERICA                         )
                                                  )
 v.                                               )    Criminal Case No. 3:22-cr-00282
                                                  )    JUDGE RICHARDSON
 [1] GLEN CASADA                                  )
 [2] CADE COTHREN                                 )



                                             ORDER

        As discussed during the pretrial conference on April 14, 2025, “Defendant Cade Cothren’s

Motion in Limine to Exclude Evidence Related to Campaign Finance Investigation and Supporting

Memorandum of Law” (Doc. No. 181, “Motion”) is DENIED. Specifically, it is: (a) denied as

moot with respect to evidence of the fact (existence) of the Registry of Election Finance Division

investigation, investigative acts taken during the investigation, and the existence and substance of

conclusions from the investigation; and (b) otherwise denied as premature, without prejudice to

raising any objection at trial.

        IT IS SO ORDERED.

                                              ____________________________________
                                              ELI RICHARDSON
                                              UNITED STATES DISTRICT JUDGE




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